Case 1:18-cr-00083-TSE Document 66-1 Filed 05/14/18 Page 1 of 3 PageID# 1226




                 EXHIBIT A
 Case 1:18-cr-00083-TSE Document 66-1 Filed 05/14/18 Page 2 of 3 PageID# 1227



                    fN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 fN RE: GRAND JURY                                    )      CASE NO. 14 GJ 1420
 INVESTIGATION                                        )      GJ Empanelment No. 17-2
                                                      )
                                                      )      Filed Under Seal

               EXPARTE ORDER REGARDING STATUTE OF LIMITATIONS

        This matter comes on for the consideration of the United States' Ex Parte Application for

Suspension of Running of Statute of Limitations pursuant to Title 18, United States Code, Section

3292.

        The Court makes the following findings:

        1.      A grand jury impaneled in the Eastern District of Virginia has been conducting an

investigation of the Russian government's efforts to interfere in the 2016 presidential election.

As part of that investigation, the Special Counsel is investigating the flow of foreign monies to

individuals (and affiliated entities) associated with the campaign of the Republican presidential

candidate. Those individuals/entities include, but are not limited to: Paul J. Manafort, Richard W.

Gates, DMP International LLC, Davis Manafort Partners, Inc., Smythson LLC, and Jesand

Investment Corporation (hereinafter "the Subjects"), for offenses arising out of this District's

grand jury investigation into potential violations of 31 U.S.C. §§ 5314, 5322(a) (Failure to File a

Report of Foreign Bank and Financial Accounts), 22 U.S.C. § 611, et. seq. (Foreign Agents

Registration Act), 26 U.S.C. § 7206(1) (Filing a False Tax Return), 18 U.S.C. §§ 1956, 1957

(Money Laundering), 18 U.S.C. §§ 1341 , 1343, 1344, 1349 (Fraud), 18 U.S.C. § 1001 (false

statements) and conspiracy and aiding and abetting the same. No indictment has been returned.

        2.    The United States has filed an ex parte application for an order suspending the

statute of limitations in accordance with the provisions of Title 18, United States Code, Section
 Case 1:18-cr-00083-TSE Document 66-1 Filed 05/14/18 Page 3 of 3 PageID# 1228



3292.

        3.      It reasonably appears, based on a preponderance of evidence presented to the Court,

that evidence of the offenses under investigation is located in Cyprus and other foreign nations.

        4.      It further appears, based on a preponderance of evidence presented to the Court,

that on June 6, 2017, the United States, through the Office of International Affairs of the United

States Department of Justice, made an official request, as defined in Title 18, United States Code,

Section 3292(d), to an "authority of a foreign country," specifically Cyprus.

        IT IS THEREFORE ORDERED that the Government's ex parte application for

suspension of running of the statute of limitations is granted; and

        IT IS FURTHER ORDERED that the running of the statute of limitations for the offenses

set forth in the Government' s ex parte application is hereby suspended for the period authorized

by 18 U.S.C. § 3292(c).




 Dated:      ~ , . . . )_
             ~
                            r,I lb I 7
                                                                                ,....

                                              ~ ~ - =; ~
                                             UNITED STATES DISTRJCT JUDGE
                                             EASTERN DISTRJCT OF VIRGINIA




                                                2
